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UNITED STATES DISTRICT COURT
                                                                                    4/27/2023
SOUTHERN DISTRICT OF NEW YORK
____________________________________
UNITED STATES OF AMERICA                                   Consent Order of Restitution

              v.                                           Docket No. 20 Cr. 412 (AT)
BRIAN KOLFAGE,
ANDREW BADOLATO, and
TIMOTHY SHEA
____________________________________
UNITED STATES OF AMERICA

              v.                                           Docket No. 22 Cr. 201 (AT)
BRIAN KOLFAGE
____________________________________

       Upon the application of the United States of America, by its attorney, Damian Williams,

United States Attorney for the Southern District of New York, Mollie Bracewell, Nicolas Roos,

Robert Sobelman, and Derek Wikstrom, Assistant United States Attorneys, of counsel; the

presentence investigation reports; the defendants’ convictions in these cases; and all other

proceedings in these cases, it is hereby ORDERED that:


       1.     Amount of Restitution

       Brian Kolfage, Andrew Badolato, and Timothy Shea, the defendants, shall pay restitution

in the total amount of $25,601,615.00, pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664, to the

victims of the offenses charged in Count One of Indictment 20 Cr. 412 (AT) and Count One of

Superseding Indictment S2 20 Cr. 412 (AT), as apportioned below. The names, addresses, and

specific amounts owed to each victim are set forth in the Schedule of Victims, attached hereto as

Schedule A.

       Brian Kolfage, the defendant, shall also pay restitution in the amount of $143,003.00,

pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664, to the victim of the offense charged in Counts

One, Two, and Three of Indictment 22 Cr. 201 (AT)
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       2.      Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the defendants, including whether any of these assets are jointly controlled; projected

earnings and other income of the defendants; and any financial obligations of the defendants;

including obligations to dependents, the defendants shall pay restitution in the manner and

according to the schedule that follows:

                In the interest of justice, restitution will be payable in installments pursuant to 18

U.S.C. § 3572(d)(1) and (2). While serving the term of imprisonment, the defendants shall make

installment payments toward restitution and may do so through the Bureau of Prisons’ (BOP)

Inmate Financial Responsibility Plan (IFRP). Any unpaid amount remaining upon release from

prison will be paid in installments of at least 15% percent of the defendant’s gross income on the

first of each month.

       This schedule is without prejudice to the Government taking enforcement actions, pursuant

to 18 U.S.C. § 3613, to the extent warranted.

3.     Payment Instructions
       The defendants shall make restitution payments by certified check, money order, or online.

Instructions for online criminal debt payments are available on the Clerk of Court’s website at

https://nysd.uscourts.gov/payment-information#PaymentofCriminalDebt. Checks and money

orders shall be made payable to the “SDNY Clerk of Court” and mailed or delivered to: United

States Courthouse, 500 Pearl Street, New York, New York 10007 - Attention: Cashier, as required

by 18 U.S.C. § 3611. The defendants shall write their name and the docket number of this case on

each check or money order.

       Because the Internal Revenue Service (“IRS”) is a victim of Counts One, Two, and Three

of Indictment 22 Cr. 201 (AT), the Clerk’s Office shall forward payments by Brian Kolfage, the

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defendant, toward his obligation to pay $143,003.00 in restitution to the IRS to the below address

within 30 days of receiving said payments:

        IRS - RACS
        Attn: Mail Stop 6261, Restitution
        333 W. Pershing Ave.
        Kansas City, MO 64108]

        4.      Change in Circumstances

        The defendants shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Program) of (1) any change of the defendant’s name, residence, or mailing address or (2) any

material change in the defendant’s financial resources that affects the defendant’s ability to pay

restitution in accordance with 18 U.S.C. § 3664(k).

        5.      Term of Liability

        The defendants’ liability to pay restitution shall terminate on the date that is the later of

20 years from the entry of judgment or 20 years after that defendant’s release from imprisonment,

as provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in

the event of the death of a defendant, that defendant’s estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.

        6.      Sealing

        Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal

Procedure 49.1, to protect the privacy interests of victim(s), the Schedule of Victims, attached

hereto as Schedule A, shall be filed under seal, except that copies may be retained and used by or




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          Schedule A
              (Schedule of Victims)
